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  Domb Declaration

                Exhibit 7
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                                                                                                                  EX.99.20


 Autonomous City of Buenos Aires, May 20, 2008

 Messrs:
 Repsol YPF, S.A.
 Repsol Exploración, S.A.
 Caveant S.A.
 Repsol YPF Capital, S.L.
 Paseo de la Castellana N° 278-280
 28046 Madrid
 Attention: Corporate Director of Strategy and Development/Mr. Miguel Angel Devesa
              cc. Corporate Director of Legal Affairs/Mr. Enrique Hernández


 Dear Sirs:



 On February 21, 2008, the following contracts were signed:

        (a)         A contract for the purchase and sale (the “Stock Purchase Agreement”) of 58,603,606 Class D shares
                    of YPF, S.A. (“YPF”) representing 14.9% of the capital stock of YPF by and between PETERSEN
                    ENERGÍA, S.A., (hereinafter “PESA”) party of the first part, and party of the second part REPSOL
                    YPF, S.A., REPSOL EXPLORACIÓN, S.A., CAVEANT S.A. and REPSOL YPF CAPITAL, S.L.
                    (jointly referred to hereinafter as "GRUPO REPSOL YPF”); and

        (b)         A first option agreement to purchase shares (hereinafter the “First Option Agreement”) between Mr.
                    Enrique Eskenazi, Mr. Sebastián Eskenazi, Mr. Matías Eskenazi Storey and Mr. Ezequiel Eskenazi
                    Storey (jointly referred to hereinafter as the “Beneficiary” or the “ Eskenazi Family”) and GRUPO
                    REPSOL YPF, by virtue of which the Beneficiary was granted a first option to purchase 0.1% of the
                    capital stock of YPF (hereinafter the “First Option”).

 Subsequently, on May 6, 2008, GRUPO REPSOL YPF authorized the sale of the First Option by the Eskenazi Family to
 the Spanish company Petersen Energía Inversora, S.A. (hereinafter “PEISA”).

 In accordance with the above, PEISA, in compliance with the terms of Clause 5 of the First Option Agreement, hereby
 informs GRUPO REPSOL YPF that it is exercising the First Option, thereby acquiring Class D shares of YPF
 representing 0.1% of the capital stock of YPF under the following terms:

 Exercise Date: May 20, 2008.
 Exercise Price: US$34.30013 per share, totaling US$13,490,687, for the 393,313 shares that are being acquired.




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 We are enclosing as an appendix to this notice, and in conformity with the terms of Clause 3 of the First Option
 Agreement, (i) the financial information and documentation used to calculate the Exercise Price, and (ii) an explanation of
 the procedure followed to calculate said price.

 Additionally,

     (i)             We ask that you confirm with PEISA by signing this letter that GRUPO REPSOL YPF will jointly
                     and severally guarantee the financing of 100% of the Exercise Price.

                     In light of the above,

                                (a)      as you are aware, the financing of 100% of the Exercise Price is currently under
                                         negotiation between GRUPO REPSOL YPF, PEISA and Banco Santander S.A.
                                         (the “Option Financing”);

                                (b)      it is anticipated that the documentation supporting the Option Financing will be
                                         signed during the weeks that follow (including, if applicable, the necessary
                                         documentation for increasing the effective term of the Option Financing in the
                                         event that the Tender Offer, as described hereinafter, is extended beyond the time
                                         period initially prescribed in the documentation that is currently being
                                         negotiated).

     (ii)            We ask that you confirm with PEISA by signing this letter that GRUPO REPSOL YPF will jointly
                     and severally guarantee financing of 100% of the price that PEISA would have to pay to acquire the
                     shares that the YPF shareholders would tender in the tender offer for all of the shares of YPF, which
                     PEISA will carry out by virtue of the terms of the YPF By-laws (the “Tender Offer”)

                     In light of the above,

                                (a)      once the First Option Agreement was signed, negotiations began with Banco
                                         Santander S.A., with the knowledge and acceptance of GRUPO REPSOL YPF, in
                                         order to carry out the financing of 100% of the price that PEISA would have to
                                         pay in the Tender Offer (the “Financing of the Tender Offer”);

                                (b)      it is anticipated that the documentation supporting the Financing of the Tender
                                         Offer will be signed during the weeks that follow (including, if applicable, the
                                         documentation necessary to increase the effective term of the Financing of the
                                         Tender Offer in the event that the Tender Offer is extended beyond the term
                                         initially provided for in the documentation that is currently being negotiated);

     (iii)           With respect to the terms of Clause 7.6 of the First Option Agreement, we ask that you confirm with
                     PEISA, by signing this letter, that you agree to send, upon PEISA’s request, each of the letters to the
                     Securities and Exchange Commission of the United States of America, to the Comisión Nacional de
                     Valores of Argentina and to the Comisión Nacional del Mercado de Valores of Spain, informing
                     them that GRUPO REPSOL YPF will not participate in the Tender Offer.


                                                                                                                          2




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 Lastly, it is hereby declared that the effectiveness of the exercise of the First Option shall be dependent on the occurrence
 of the condition subsequent established in Clause 5.1 of the Stock Purchase Agreement. Thus, in the event that the Stock
 Purchase Agreement is terminated due to said occurrence, the purchase and sale of YPF shares as a consequence of the
 exercise of the First Option shall likewise automatically be terminated, with the Parties being required to, if applicable,
 fully return to each other any consideration mutually paid until such time by virtue of said exercise of the First Option.

 The execution of the purchase and sale of YPF shares, carried out due to the exercise of the First Option, shall remain
 dependent on the approval of the Class A shareholder and on the completion and settlement of the Tender Offer, and the
 effective acquisition of said shares and the payment of the price thereof by PEISA shall be made within thirty (30) days
 after the Tender Offer is completed and settled.

 Thank you for your attention to this matter.


     On behalf of PEISA


     /s/ Mauro J. R. Dacomo
     _______________________
     Mr. Mauro J. R. Dacomo

    Certified conform, On behalf of GRUPO REPSOL YPF




  Repsol YPF, S.A.            Repsol Exploración, S.A.             Caveant S.A.             Repsol YPF Capital, SL




                                                                                                                            3




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                                                                  Appendix 1
                                                    Calculation of Exercise Price
 PETERSEN ENERGIA INVERSORA S.A.
 EXCERCISE PRICE OF THE FIRST OPTION

 Valuation to determine the Exercise Price:


                                                                                                                             US$




 Total Value of the Company                                                                                             15,000,000,000




 Consumer Price Index (1)                       Fiscal Year (2)    Mar-2008    213.5280 =        1.0218

                                                   Base (2)        Dec-2007    208.9760




 Total Value of the Company - Updated                                                                                   15,326,736,085




 Plus / (Minus)    Accumulated Earnings                                                     22-Feb-2008 20-May-2008        306,726,363




                   Feb-2008                      21-Feb-2008 29-Feb-2008              8      97,000,000    26,758,621

                   Mar-2008                                                                                99,000,000

                   Apr-2008                                                                               110,000,000

                   May-2008               (3)     30-Apr-2008 20-May-2008            20     110,000,000    70,967,742




                                                                                                          306,726,363




 (Minus)           Dividends                                                                                            (2,142,782,289)




                                                                                                                                           4




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                             22-Feb-2008 10.7600 393,312,793 4,232,045,653          3.1580 (1,340,103,120)

                             12-May-2008 6.5000 393,312,793 2,556,533,155           3.1850    (802,679,169)




                                                                                             (2,142,782,289)

 Total Value of the Company - Adjusted                                                                                 13,490,680,158

                                                                                                                                        =   34.30013




 Total number of shares                                                                                                 393,312,793


 PEISA           Class D Shares                                                                                0.10%          393,313 13,490,687



 (1) Consumer Price Index - All Urban Consumers - Not Seasonally Adjusted - US city average - All items.

 (2) For the purpose of selecting a publication time by the BLS of this index, we have taken into account a 2-month lag for both the “Base” and the
 exercise indexes.

 (3) For the purpose of determining the earnings of the current month, we have taken the earnings´ figures of the previous month.




                                                                                                                                                  5




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